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 UNITED STATES DISTRICT COURT                   defendant into custody." But outside of
 SOUTHERN DISTRICT OF GEORGIA                   those circumstances, exoneration is
     STATESBORO DIVISION                        generally discretionary.    See Herman v.
                                                U.S, 289 F.2d 362, 366 (5th Cir. 1961),
UNITED STATES OF AMERICA
                                                overruled on other grounds by U.S. v.
V   .                 6:09-cr-48                Zuniga-Salinas, 952 F.2d 876 (5th Cir.
                                                1992). Rule 46(g) provides scenarios where
JOHNATHAN MANN,                                 a judge must exonerate; it notes no scenario
                                                where a judge must not do so.
Defendant.
                                                    Federal Rule of CinI Prdçduré
                  1) 1 U                        46(f), which iture,
                                                similarly invokes judicia is&ition.
    Over four years ago, the Government
                                                Though Rule 46(f)(1) not tha áTjudgé
indicted Johnathan Mann for his
                                                "must declare the bail J6rfeitedE3if a
participation in a criminal conspiracy to
                                                condition of the bond is brpached,"l Rule
distribute cocaine. ECF No. 1. Through his
                                                46(f)(2)(B) notes that the j4dge may set
surety, Michael Mathews, he deposited
                                                aside the forfeiture if "it appears that justice
$5,000.00 for bail. ECF Nos. 458; 1095.
                                                does not require bail forfeiture."
Though Mr. Mann's conditions of release
included a prohibition on committing further        Here, justice does not require that Mr.
crimes, he was arrested while out on bail for   Mathews forfeit the disputed $5,000.00.
driving under the influence. ECF No. 1097       Rules 46(f) and (g), when read together,
at 1. Therefore, the Court revoked his bond.    reward sureties who ensure that their charge
ECF No. 522. However, the Court did not         is properly surrendered to the government
explicitly order any forfeiture during that     and who comply with the mandates of the
hearing. Id. Importantly, the record does       Court. The Government's four-year delay in
not reflect any Government motion for           seeking permanent possession of these funds
forfeiture until this month.                    militates against the likelihood that keeping
                                                them is necessary and just. Rule 46(1) gives
    Mr. Mann has filed an Amended Motion
                                                this Court discretion in making such a
to Exonerate Bond, ECF No. 1095, in which
                                                decision. Therefore, Defendant's Amended
he requests that the $5,000.00 be returned to
                                                Motion to Exonerate Bond, ECF No. 1095,
Mr. Mathews with interest. Id. at 2. Both
                                                is GRANTED
parties have framed this dispute purely in
terms of exoneration. Federal Rule of           This      day of April 2014.
Criminal Procedure 46(g) provides that the
Court "must exonerate the surety and release
any bail when a bond condition has been
satisfied or when the court has set aside or
                                                1. AVAITfEDENFIELD, JOGE /
remitted the forfeiture. The court must         UNITED STATES DISTB)T COURT
exonerate a surety who deposits cash in the     SOUTHERN DISTRICT'OF GEORGIA
amount of the bond or timely surrenders the
